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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
                           NEW ORLEANS DIVISION

IN RE:       FEMA TRAILER                    *   MDL NO. 1873
             FORMALDEHYDE PRODUCTS *
             LIABILITY LITIGATION            *   SECTION “N” (5)
                                             *
                                             *   JUDGE ENGELHARDT
                                             *   MAGISTRATE CHASEZ
                                             *
THIS DOCUMENT PERTAINS TO                    *
                                             *
CIVIL CASE NOS. 09-7792, 09-7793, 09-7794, *
09-7795, 09-7796, 09-7797, 09-7798, 09-7799, *
09-7800, 09-7801, 09-7802, 09-7803, 09-7804, *
09-7805, 09-7806, 09-7807, 09-7808, 09-7809, *
09-7810, 09-7811, 09-7812, 09-7813, 09-7814, *
09-7815, 09-7816, 09-7817, 09-7818, 09-7819, *
09-7820, 09-7821, 09-7822, 09-7823, 09-7824, *
09-7825, 09-7826, 09-7827, 09-7828, 09-7829, *
09-7830, 09-7831, 09-7832, 09-7833, 09-7834, *
09-7835, 09-7836, 09-7837, 09-7838, 09-7839, *
09-7840, 09-7841, 09-7842, 09-7843, 09-7844, *
09-7845, 09-7846, 09-7847, 09-7848, 09-7849, *
09-7850, 09-7851, 09-7852, 09-7853, 09-7854, *
09-7855, 09-7856, 09-7857, 09-7858, 09-7859, *
09-7887, 09-7889, 09-7890, 09-7891, 09-7892, *
09-7893, 09-7894, 09-7895, 09-7896, 09-7897, *
09-7898, 09-7899, 09-7903, 09-7904, 09-7905, *
09-7906, 09-7907, 09-7908, 09-7909, 09-7910, *
09-7911, 09-7912, 09-7913, 09-7914, 09-7916, *
09-7917, 09-7918, 09-7919, 09-7920, 09-7921, *
09-7922, 09-7924, 09-7925, 09-7960, 09-7961, *
09-7962, 09-7963, 09-7964, 09-7965, 09-7966, *
09-7967, 09-7971, 09-7972, 09-7973, 09-7974, *
09-7977, 09-7978, 09-7980, 09-7983, 09-7984, *
09-7987, 09-7990, 09-7991                    *


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      PLAINTIFFS’ MOTION TO EXTEND TIME TO SERVE DEFENDANTS
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      NOW INTO COURT, through undersigned counsel, come Plaintiffs in the above-

referenced matters, who respectfully submit to this Honorable Court this Motion to

Extend Time to Serve Defendants. In support thereof, Plaintiffs show the following:

      1.       Plaintiffs’ complaints in the above-referenced civil action numbers were

originally filed in the Eastern District of Louisiana on December 23, 2009.

      2.       On or about April 5, 2010, Plaintiffs filed a Motion to Extend Time to Serve

Defendants (Rec. Doc. 13198).       On or about April 21, 2010, Plaintiff’s motion was

granted allowing Plaintiffs until June 21, 2010 to perfect service on all Defendants (Rec.

Doc. 13462).

      3.       Plaintiffs would request additional time to perfect serve on all Defendants

in the above-referenced civil action numbers. Plaintiffs request an additional sixty (60)

day extension to serve Defendants in above-referenced civil action numbers.

      WHEREFORE PREMISES CONSIDERED Plaintiffs respectfully move this Court

to extend the deadline by sixty (60) days to perfect service on all Defendants.

                                       Respectfully submitted,

                                       /s/ Robert C. Hilliard
                                       _____________________________
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                                     ATTORNEYS FOR PLAINTIFFS


                             CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading was served on all counsel
of record through electronic notification pursuant to the electronic filing in the United
States District Court for the Eastern District of Louisiana this 17th day of June.


                                         /s/ Robert C. Hilliard
                                         ____________________________
                                         ROBERT C. HILLIARD




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